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4    Attorney for Defendant

5

6                          United States District Court
                          Eastern District of Washington
7                     Before the Hon. Salvador Mendoza, Jr.

8    United States of America,
                                              No. 4:19-CR-6049-SMJ-1
9                                Plaintiff,

10   v.                                       Defendant Castillo’s Notice of
                                              Compliance
11
     Ivan Renteria Castillo,
12
                               Defendant.
13

14          Please take notice that the office of Pechtel Law PLLC

15   complied with their obligations and notifies the Court that the

16   parties met and conferred per the Court's oral order on May 28th,

17   2020 and propose the following revised deadlines:

18        • Pretrial motions due: June 5, 2020

19        • Responses due: June 12, 2020

20        • Replies, if any, due: June 19, 2020


     Notice of Compliance - 1
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1      • Pretrial Conference: July 2, 2020 at 1:30 PM in Richland (no

2         change)

3

4    Dated: June 1, 2020                     Respectfully Submitted,

5                                            s/Adam R. Pechtel
                                             Adam R. Pechtel/ WSBA #43743
6                                            Attorney for Defendant
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     Notice of Compliance - 2
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1                              SERVICE CERTIFICATE

2    I certify that June 1, 2020, I electronically filed the foregoing Notice

3    of compliance with the District Court Clerk using the CM/ECF

4    System, which will send notification of such filing to the following:

5    Stephanie Van Marter, Attorney for Plaintiff

6

7                                        s/Adam R. Pechtel
                                         Adam R. Pechtel/ WSBA #43743
8                                        Attorney for Defendant
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     Notice of Compliance - 3
